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U.S. I)ISTRICT COURT FOR THE DISTRICT OF COLUMBIA

ANDREW Y()UNG
80 Q Street, S.W.
Washington, D.C. 20024

Piainrifr,

v.
Case No.

MEDICREDIT, INC.

c/o CT Corporation
1015 15"‘ Sn~eec, N.W.
Washington, D.C. 20005

Defendant.

NOTICE ()F REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Medicredit, Inc. (referred to
herein as “Defendant”), through undersigned counsel, hereby files this Notice of Rernoval of the
state-court action currently pending in the Superior Court of the District of Columbia, Small
Clairns and Conciliation Branch, Case No. 2015-8€(2)-003208. In support thereof, Der`endant
states as follows.

1. Plaintiff initiated his civil action by filing a Statement of Claim against Defendant
in the Superior Court of the District of Coiumbia, Small Clairns and Conciliation Branch.
Copies of Plaintiff’s Staternent of Claim, Surnmons and other related court documents are
appended hereto as Exhibit A.

2. Defendant Was served With a copy of the Staternent of Claim and Surnmons on or
about August 10, 2015 .` This Notice of Removal is being filed With this Court Within 30 days of
the Service of the Statement of Clairn on Defendant and is timely filed. See 28 U.S.C. § 1446(b).

See also Murphy Brofhers, Inc. v. Michetti Pipe Strl`nging, Inc., 526 U.S. 344, 347 (1999)

 

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(holding that the 30-day removal deadline does not begin to run until a defendant has been
properly Served With a copy of the complaint).

3. Through this lawsuit, Plaintiff seeks to recover damages pursuant to the Fair
Credit Reporting Act, 15 U.S.C. § 1681 et seq. (referred to herein as the “FCRA”). See
Statement of Claim (attached hereto as Exhibit A).

4. The FCRA provides, in relevant part, that “[a]n action to enforce any liability
created under this subchapter may be brought in any appropriate United States district court,
Without regard to the amount in controversy, or in any other court of competent jurisdiction.” 15
U.S.C. § 1681p.

5. The majority rule is “that the existence of concurrent jurisdiction, standing alone,
is insufficient to defeat the right to removal . . . under 28 U.S.C. § 1441.” See, e.g., Aben v.
Dallwig, 665 F. Supp. 523, 525 (E.D. Mich. 1987).

6. Therefore, Plaintiff has asserted a cause of action arising under the laws of the
United States, and accordingly, this Court has original jurisdiction to hear Plaintiff’s claims
pursuant to 28 U.S.C.§ 1331, Which provides for district courts having “original jurisdiction of
all civil actions arising under the laws . . . of the United States.”

7. A Notice of Filing for Removal to Federal Court is being filed contemporaneously
in the Superior Court of the District of Colurnbia, a copy of Which is attached hereto as Exhibit
B.

8. Written notice of this pleading has been mailed to Plaintiff.

9. Exhibit A attached hereto represents all of the pleadings received by or served

upon Defendant in connection With Plaintiff’s claim.

 

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10. Removal to this Court is appropriate because Plaintiff’s action is pending in this

District. See 28 U.S.C. § 1441(a).

WHEREFORE, Defendant respectfully requests that the above~referenced action brought

in the Superior Court of the District of Coiurnbia be immediately removed to this Court.

Respectfully submitted,

/s/ Joleen R. Okun
Joleen R. Okun
Ogietree, Deai<ins, Nash, Srnoak & Stewart, P.C.
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Counselfor Defendant

 

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CERTIFICATE OF SERVICE

l hereby certify that on this 27th day of August, 2015, a copy of the foregoing Notice of
Rernoval Was Sent via first class mail, postage prepaid, to:

Andrew Young

80 Q St SW
Washington, DC 20024
Plaintijrpm se

/s/ Joleen R. Okun
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